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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA

 Deborah Laufer,
 Plaintiff,

 v.                                          Civil Action No. 3:20-cv-00035-DHB-
                                                             BKE
 RAGHAV ENTERPRICE INC,
 Defendant.


                          NOTICE OF SETTLEMENT

      Plaintiff, Deborah Laufer, by and through her undersigned counsel, hereby

advises the Court that the parties have reached an agreement in principle to resolve

this dispute. The parties are finalizing settlement and dismissal documents and

expect to file the dismissal papers within thirty (30) days.

/s/ Tristan W. Gillespie
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